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  Parties

  1. Plaintiff JESSE GRAHAM D.B.ASMIGGEREENOFASMAGGEREEN MUSIC

("Graham"} is a songwriter and a resident of the State of California Graham is author of the musical
 composition entitled "Haters gone Hate" and a legal andJor beneficial owner of a copyright in#eres# in
 and to that musical composition.

 Z, On information and belief, Defendant,TAYLOR SWIFT ("Swift"}, is a songwriter and a

 resident of the State of California and at a!I material times, is and was doing business in the state of
 California and within t#~is ludiaaf district.

 General Allegation

 Plaintiff and Haters gone Hate

 3. Plaintiff Graham is a Songwriter since the Early 9U`s and has written 100's of songs cleared through
 Broad cast music inc. he is famous for starting many trends since the digital age.

 to include the "Random act of Kindness movement in 2013 which spawned one of the first viral photos
 of a police officer carrying two gallons of milk as a random act of kindness whi{e searching for the
 Boston bomber.

 Plus the New Day movement that spawned the Hip hop move from lyrics of violence and threats

 as Graham caltedfor-a move from violent lyrics to celebrate success lyrics and with social conciseness -
 which spawned New Day songs from such as Jay Z Kanye West, Alicia Keys, and spawned the N news
show New Day

 M R Graham Trademarked "New Day" -Then MR Graham wrote a song in response to jealous people
 and never congratulating and finding fault- he entitled it "Haters Gone Hate"

in the song MR Graham explains that A Hater gone hate and playa gone play so watch out for the them
fakers they'll fake you every day —as his main hook of the song which is very similar to Swift main hook
of her song. Haters And Fakers have become a part of everyday language —This is the entirety of the
song. MR Graham -insists Swifts Lyrics intentionally infringe on fiis
and he has video of Swift explaining to her producers how subtle things Graham was doing on his
recording she wanted to changed but keep —certain parts - I wilt detail same of the noted similarities
of the two songs and will include the video for your inspection.
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   • Graham song and Swift song are heavy an the" horns", in the video Swift exclaimed that she
     hated horns as MR.Graham song has horns-and didn't want hflrn in her song —she states that
     her partner started playing the horns Again and insisted that they use them in the song, and
     they did she said that horns scared her since a kid but did decide to use horns as one of the main
     featured parts to the song(Shake it off)

   • Graham's song according to the Swift video she says" it's only a three chord song"
     and he comes in on the bridge and chorus —then she repeated the lyrics that she had on her
     cell phone and she says wait wait — "A Hater gone hate and a player gone play
     watch out for them fakers they'll fake you every day"
     as she let out a big "scream of laughter" — it is the same as Graham song,
     `Haters gone hate" written just one year before swift song in response to Mr. Graham
     nit getting aH the love he felt he should have got when he shared a picture of him as an Army
     vet — he exclaimed that no matter how good you do a "Hater gone hate" Mr Graham has been
     using the term since 1989 — At Sound Image Studio in Georgia the first Song was entitled
     "Nice N Slov~' as Graham is a pioneer of the computer it was when he wrote another song
     about Haters saying they were
     "sippin Hater raid". And the pronunciation o#the word gone —and not gonna
     Graham uses his original unique blend of southern slang in most of his songs —and did indeed
     use the term in the song recorded in 2005 Who's gonna come to the stage —writing 2000 —
     Graham points to a lyric sheet and interview where Swift was using the word gone hate —but
     later after notification she changed the lyrics to Gonna hate Lyric video on You tube has over 2
     millions
   • Haters gone hate online on You-tube where the video has 2 million views.
     plus more than one thousand comments split upon racial lines the blacks say yes she copied it
     the whites say no she didn't.

   •   Mr Graham was using YouTube as a storage locker but did do some promotions online for the
       Haters gone hate single and album version an online video plus featured in the Sermon And
       then I felt like preaching. Which was one of the first viral podcast from the now famous
       Facebook page.

       20% of the song Shake itoff —Graham request relief in the amount equal to 20% of of all gross
       proceeds including licensing, downloads streams and such.— for damages Graham states that he
       missed al( major award shows and endured public scrutiny on more than one thousand
       comments on you tube —and Graham request his name be added as a writer on future listings
       as a songwriter.
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                            i1NITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                          NOTICE OF ASSIGNMENT TO iJNITEi~ STATES JUDGES



   This case has been assigned to:
                     District Judge Ronald S. W.Lew
                     Magistrate Judge GPI J Standish


  The case number on aii documents filed with the Court should read as follows:


  Most districtjudges in the Central District of California refer all discovery-related motions to
  the assigned magistrate judge pursuant to General order No. OS-07. If this case has been
  assigned to either 3udge Manuel L. Real or Judge Robert J. Timlin, discovery-related motions
  should generally be noticed for hearing before the assigned district judge. Otherwise,
  discovery-related motions shoutd generally be noticed fir hearing before the assigned
  magistrate judge. Please refer to the assigned judges' Procedures and Schedules, available on
  the Court's website at www.cacd.uscourts. gov/judges-requirements,for additional information.




                                                                   Clerk, U.S. District Court

   October 28.2015                                                 B~ /s!Robert Nudres
      Date                                                            Deputy Clerk




                                                 ATTENTION
  The party thatfiled the case-initiating document in this case for erarrtple, the complaint or the
  notice ofremoval) must serve a copy o,fthis Notice on all~xzrties served with the case-initiating
   document. In ar~dition,fthe case-initiarlir~g dacume~t in t~tis case was electronicallyfiled, the
     party that,filed it must, upon receipt ofthis Notice, promptt}~ deliver mandatory chamber's
   copies ofallpreviouslyfiled documents to the newly assigned-districtjudge. See L.R. 5-4.5. A
  copy ofthis No#ce should be attached to thefast page ofthe mandatory chambers copy ofthe
                                       case-initiating document



 CV-18(08115)                    NOTICE OF ASSIGNMENT TQUiYIfiED STATES JQDGES
           Case 2:18-cv-00810-MWF-GJS Document 1 Filed 01/31/18 Page 13 of 13 Page ID #:13
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     TO:

                     Register of Copyrights                                                                   REPORT ON THE
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                     Library of Congress                                                                     ACTION OR APPEAL
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 73CK'KET NO.                       llATE FII.ED
           2:17-cv-06882                       9/18/2017
 PL.~INTIFF                                                                              DEFENDANT
 Sean Hall DBA Gimme Some Hot Sauce Music and                                            Taylor Swift, Karl Martin Sandberg, Karl Johan Schuster,
 Nathan Butler DBA Faith Force Music                                                     Sony/AN Music Publishing, LLC, Kobait Music
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       IIl t}i@ aUOve-entitled    case, tl~,e following copyright(sj have been included:
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    In the aUove-entitled case, a final decision was rendered on the date entered below. A copy ofthe order orjudgment
together with the written opinion, if any, ofthe court is attached.
COPY ATTACEIEI?                                                   WRITTEN OP1fdION ATTACHED                                         DATE RENDERED

              ❑ Order         ❑Judgment                                       ❑Yes           ❑ No


CLEP~K                                                            BY)DEPUTY CLERK                                                   DATE



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